Case 1:25-cv-00916-JDB   Document 19-4   Filed 04/08/25   Page 1 of 3




       EXHIBIT 1
4/4/25, 5:14 PM       Case 1:25-cv-00916-JDB               Document 19-4
                                                                 Truth           FiledSocial
                                                                       Details | Truth  04/08/25   Page 2 of 3




          Truth Details
          666 replies


                  Donald J. Trump
                  @realDonaldTrump

    But isn’t it SleazeBag Andrew Weissmann, one of the most overturned on appeal
    lawyers in the U.S., who couldn’t convince his “boss,” Robert “No Collusion”
    Mueller, to do the wrong thing, and who goes around saying he controls the
    “Justice” Department, including Merrick Garland, and especially high ranking Lisa
    Monaco, and that they’ll do whatever he wants and demands??? Hope this isn’t
    true, but he really is the Scum of the Earth!!! Great job on the Mueller Report,
    Andrew. Fight back USA!


                    Sal Greco
                    @HeadOfTheTable · Sep 5, 2022

       For the second time in his legal career, Andrew Weismann comes across a judge that
       actually respects the rule of law. The last time was the when his Enron convictions were
       overturned for his prosecutorial misconduct. @realDonaldTrump @JackPosobiec
       #MarALagoRaid




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4/4/25, 5:14 PM     Case 1:25-cv-00916-JDB                 Document 19-4
                                                                 Truth           FiledSocial
                                                                       Details | Truth  04/08/25   Page 3 of 3




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